                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                       AT NASHVILLE


TRACY ANDRIANO,                                           )    Docket No. 3:15-CV-0863
                                                          )
     Plaintiff,                                           )
                                                          )    JUDGE CRENSHAW
v.                                                        )    MAGISTRATE JUDGE HOLMES
                                                          )
TYSON FOODS, INC.,                                        )    JURY DEMAND
TYSON FRESH MEATS, INC.,                                  )
a subsidiary of Tyson Foods, Inc.                         )
                                                          )
     Defendants.                                          )

                     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         Pursuant to Federal Rule of Civil Procedure 56, Defendants Tyson Foods, Inc. and Tyson

Fresh Meats, Inc. (collectively referred to as “Tyson”) submit this Motion for Summary Judgment.

Tyson requests that the Court grant this motion and enter an Order dismissing Plaintiff Tracy

Andriano’s (“Plaintiff”) claims against it, as a matter of law, with prejudice. In support of this

motion, Tyson states:

         Plaintiff alleges that she was subjected to a sexually hostile work environment and then

retaliated against for complaining about the sexual harassment. [Complaint (“Compl.”), Dkt. No. 1].1

Plaintiff’s sexual harassment claim is without merit because she is unable to establish that (1) the

harassment was objectively and subjectively severe or pervasive; or (2) that Tyson is liable.

Additionally, Plaintiff’s retaliation claim is without merit because she cannot establish that (1)

Tyson took adverse action against her; (2) there was a causal connection between her sexual


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 Plaintiff’s Complaint references a claim for “gender discrimination.” [Compl. ¶ 43]. During her deposition, Plaintiff
clarified that her gender discrimination claim is based only on her sexual harassment allegations. [Tracy Andriano
Deposition (“Andriano Dep.”) at 138:20-139:19].


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harassment complaint and any adverse action; or (3) Tyson’s legitimate, non-retaliatory reasons for

its actions are pretextual. Accordingly, both of Plaintiff’s claims fail as a matter of law and should

be dismissed.

         In further support of this motion, Tyson relies on the following materials, which have been

contemporaneously filed:

         1.        Statement of Driton Gashi, Exhibit 1 to Motion for Summary Judgment;

         2.        Deposition of Tracy Andriano, with cited exhibits;

         3.        Excerpts from the Deposition of Audrey Cooper, with cited exhibits;

         4.        Excerpts from the Deposition of Simona Thomas;

         5.        Excerpts from the Deposition of Steve Voller, with cited exhibits;

         6.        Excerpts from the Deposition of Maria Dorris;

         7.        Excerpts from the Deposition of Steve Ligon;

         8.        Declaration of Simona Thomas;

         9.        Defendants’ Memorandum of Law in Support of Its Motion for Summary Judgment;

and

         10.       Defendants’ Statement of Undisputed Material Facts in Support of Its Motion for

Summary Judgment.

         WHEREFORE, Tyson requests that the Court enter an Order granting it summary judgment,

pursuant to Federal Rule of Civil Procedure 56, because there is no genuine issue as to any material

fact and Plaintiff’s claims fail as a matter of law.




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                                                    Respectfully submitted,



                                                        s/ Kenneth A. Weber
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                                                        Attorneys for Defendants


                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2016, a copy of Defendants’ Motion for Summary
Judgment was filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. All other parties will
be served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
system.

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                                                          s/ Kenneth A. Weber
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